Case 2:07-cv-02498-.]DB-dkv Document 1 Filed 07/26/07 Page 1 of 4 Page|D 4

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
SHELBY COUNTY HEALTH CARE )
CORPORATION d/b/a REGIONAL )
MEDICAL CENTER, )
)
Plaintiff, ) Civil Action No.:
)
- v. ) (Removed from the Circuit Court of Tennessee

) for the Thirtieth Judicial District at Memphis
UNITED HEALTHCARE INSURANCE ) ])istrict at Memphis, CT-3239-07, Division IX)
COMPANY, )
Defendant. §
NOTICE OF REMOVAL

Defendant United HealthCare lnsurance Company (“United”) files this Notice of
Removaf to the United States District Court for the Western District of Tennessee, Western
Division, pursuant to 28 U.S.C. § 1331, 28 U.S.C. § l44l(a)-(b), and 28 U.S.C. § 1332. In
support of the motion, United alleges as follows:

l. The above-entitled action was commenced in the Circuit Court of Tennessee for
the Thirtieth Judicial District at Memphis, Civil Action Number CT-()03239-06, Division IX, on
or about June 22, 2007, and is now pending in that court.

2. This Notice of Removal is filed Within the time allowed by law for removal of
civil actions. The documents attached hereto as Exhibit “A” constitute all of the pleadings,
process, and other papers served upon United in this action to date.

3. The Complaint filed by Shelby County HealthCare Corporation dfb/a Regionai
Medical Center (“The Med”) alleges that it furnished goods, materials, merchandise, and medical
services to Ronnie Eddins, and that United is indebted to The Med for the costs of goods,

materials, merchandise, and services rendered. l\/lr. Eddins is the covered spouse of a participant

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Case 2:07-cv-02498-.]DB-dkv Document 1 Filed 07/26/07 Page 2 of 4 Page|D 5

in a fully insured employee welfare benefit plan sponsored and maintained by his wife’s (Bridget
E. Eddins) employer, Ultimate Solutions, LLC, (“the Ultimate Solutions Plan”) as defined by the
Ernployee Retirement lncome Security Act of 1974 (“ERISA”), 29 U.S.C. § 1002(1), et Seq.
Based upon information and belief, Ultimate Solutions, LLC is engaged in interstate commerce.
United serves as the underwriter and claims administrator of the Ultimate Solutions Plan and
makes determinations about which claims are eligible for payment under the terms of the
Ultimate Solutions Plan.

4. The Complaint alleges that United failed to make payment pursuant to an
assignment executed by Ronnie Eddins to The Med, and seeks payment of medical benefits
available to Ronnie Eddins under the terms of the Ultirnate Solutions Plan. Thus, The Med has
standing to seek benefits under ERISA’s civil enforcement provisions, 29 U.S.C. §
ll32(a)(l)(B). Cromwell v. Eguicor~Eguitable HCA Co;'p., 944 F.2d 1272, 1277 (6th Cir. 1991)
(health care provider may assert an ERISA claim as a “beneficiary” of an employee benefit plan
if it has received a valid assignment of benefits), Lt. dismissed, 505 U.S. 1233 (1992).

5. The state law claims in the Complaint relate to an ERISA plan and, therefore, are
preempted by ERISA. See Ruble v. UNUl\/l Life insurance Co., 913 F.2d 295 (6th Cir. 1990)
(virtually all state law claims relating to an employee benefit are preempted by ERISA); The
Med’s claims are super-preempted by ERISA because they relate to an ERISA~governed
employee welfare benefit plan and fall within ERISA’s civil enforcement provisions, 29 U.S.C. §
1132. §_e§ Aetna Health, lnc. v. Davila, 542 U.S. 200, 124 S. Ct. 2488, 2496-97 (2004) (claims
fall Within the scope of ERISA if individual bringing suit complains of` a denial of coverage for
medical care under the terms of an ERISA plan); l\/letropolitan Life Ins. Co. v. 'l`avlor, 481 U.S.

58 (1987) (state law fraud and breach of contract claims are preempted by ERISA).

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Case 2:07-cv-02498-.]DB-dkv Document 1 Filed 07/26/07 Page 3 of 4 Page|D 6

6. This action is removable to this Court pursuant to 28 U.S.C. § 1331 because all of
the claims asserted against United are completely preempted as they involve exclusive federal
remedies available to participants, beneficiaries, and assignees of ERlSA-governed pians. The
remedies available, if any, are limited to that provided by ERlSA’s civil enforcement provisions
29 U.S.C. § 1132(a)(1)(B).

7. This Court has original subject matter jurisdiction over this action pursuant to 28
U.S.C. §1331 and 29 U.S.C. § 1132(e). As a civil action founded upon a claim of right arising
under the laws of the United States, this action may be removed to this Court pursuant to the
provisions of 28 U.S.C. § l44l(a)-(b).

8. This Court also has federal diversity jurisdiction under 28 U.S.C. § 1332 because
there is complete diversity of citizenship between the parties, and the amount in controversy
exceeds 875,000, exclusive of interest and costs. At the time of the Complaint and as of the date
of the filing of this Removal, Shelby County I-lealth Care Corporation d/b/a Regional Medical
Center was and still is a Tennessee corporation with its principal place of business in Tennessee.
At the time of the Complaint and as of the date of the filing of this Removal, United HealthCare
Insurance Company was and still is a Connecticut company with its principal place of business
in Connecticut. The Complaint alleges that United is indebted to The Med in the amount of
$738,395.57, and demands relief in the amount of $738,395.57 plus interest and costs.

9. United Will give written notice of the filing of this notice to The Med as required
by 28 U.S.C. § l446(d).

10. A copy of this notice will be filed with the Clerk of the Circuit Court of

Tennessee for the Thirtieth Judicial District at Memphis, as required by 28 U.S.C. § 1446(d).

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Case 2:07-cv-02498-.]DB-dkv Document 1 Filed 07/26/07 Page 4 of 4 Page|D 7

WHEREFOR_E, Defendant United HealthCare Insurance Company requests that this
action now pending in the Circuit Court of Tennessee for the Thirtieth Judicial District at
Memphis be removed to the United States District Court for the Western District of Tennessee

(Western Division).

/s/Christopher F. I-Ieinss
Attorney For Defendant,

United HealthCare Insurance Company

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CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system. A true and correct copy of the foregoing document has been served via the
Court’s CM/ECF system on all persons listed below who are registered Cl\/l/ECF participants
who have consented to electronic notice, and on whom the notice of electronic filing indicates
that notice was electronically mailed, or, on all others via United States Mail, First Class Postage
prepaid on this the 26th day of July, 2007:

Curtis H. Goetsch

McCullough & McCullough, PLLC

9050 Corporate Gardens Drive
Germantown, TN 38138

/s/Christopher F. Heinss
OF COUNSEL

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